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                                                                       FILED IN CLERK'S OFFICE
                                                                           U.S.O.C. -Atlanta


                                                                         APR 12 2024



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   THE UNITED ST ATES OF AMERICA,
                                                       Criminal Action No.
         V.                                            1:23-CR-047-MHC

   KRISTOPHER KNEUBUHLER,

                             WRIT OF EXECUTION

TO THE UNITED STATES MARSHALS SERVICE AND BULLSEYE AUCTION
& APPRAISAL:

      On April 10, 2024, this Court entered a criminal judgment against

defendant, Kristopher Kneubuhler imposing criminal monetary penalties

including assessments in the amount of $15,100.00, and restitution in the amount

of $20,500.00, plus statutory interest pursuant to 18 U.S.C. § 3612. As of April 12,

2024, the judgment balance is $36,500.00.

      THE UNITED STATES MARSHALS SERVICE IS COMMANDED AND

AUTHORIZED to enter 300 Anchorage Place, Roswell, GA 30076 (the

"Residential Property") for the purpose levying, securing, inspecting,

inventorying, photographing and delivering possession of the pinball machines

belonging to defendant or in which the defendant has a substantial nonexempt

interest to Bullseye Auction & Appraisal. Bullseye Auction & Appraisal is
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expressly authorized to (i) accompany the United States Marshals Service at the

time of levy to take possession of the pinball machines as substitute custodian

and (ii) transport and store the pinball machines until a sale may be effectuated.

       NOW, THEREFORE, THE UNITED STATES MARSHALS SERVICE IS

HEREBY COMMANDED AND AUTHORIZED to satisfy the judgment by

levying on and seizing the following property in which the defendant has a

substantial nonexempt interest: nineteen (19) pinball machines, as modified by

the following specific instructions:

 1.   The United States Marshals Service may levy on the pinball machines by
      affixing a copy of the writ and notice of levy in a conspicuous place on one
      or more of the pinball machines describing in the notice of levy the property
      by quantity and with sufficient detail to identify the property levied on.

n.    The aforementioned pinball machines should be immediately seized by the
      United States Marshals Service and turned over to the United States of
      America's designee, Bullseye Auction & Appraisal, which will take
      custody, store, and advertise all subject property for sale.

      THE UNITED STATES MARSHALS SERVICE IS AUTHORIZED AND

DIRECTED to use reasonable force to gain entry into the Residential Property,

including breaking any locks on gates and/ or doors on the Residential Property.




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Furthermore, the United States Marshals Service is authorized and directed to

take all necessary actions, including, but not limited to, the use of reasonable

force for the stated purpose and to arrest any and all persons who obstruct,

interfere, or attempt to interfere in any way with the execution of this Writ.

Date: APR    12 2D24
                                KEVIN P. WEIMER
                                CLERK, U.S. DISTRICT COURT

                                BY:
                                Deputy Clerk -
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              U.S. Marshals Service Return of Writ of Execution


  DATE RECEIVED BY MARSHAL               TIME RECEIVED




  PROPERTY SEIZED OR FROZEN PURSUANT TO LEVY:




  DATE OF LEVY                           FEES, COSTS, AND EXPENSES




The writ was received and executed:



  U.S.MARSHAL                             (BY) DEPUTY U.S. MARSHAL
